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                   IN THE LINITED STATESDISTRICT COURT

                  FOR THE SOUTHERNDISTRICTOF GEORGIA

                               AUGUSTADIVISION

JAEQUAN S. MALONE,

              Petitioner,

       v.                                      cv I l3-099
                                               (FormerlyCRI l2-064)
UNITED STATESOF AMERICA,

              Respondent.


                                     ORDER


       After a careful,de novo reviewof the file, the Court concurswith the Magistrate

Judge's Report and Recommendation,to which no objections have been filed.

                                       of the MagishateJudgeis ADOPTED as
Accordingly,the Reportand Recommendation

the opinion of the Court. Therefore,Respondent'smotion to dismiss is GRANTED

(doc.no. 3), Petitioner'smotion to dismissand motion to strike are DENIED (doc.nos.

5, 8), and the instant5 2255motionis DISMISSED.

       Further, a federal prisonermust obtain a certificate of appealability("COA")

beforeappealingthe denial of his motion to vacate. This Court "must issueor deny a

certificateof appealabilitywhen it entersa final order adverseto the applicant." Rule

I l(a) to the RulesGoverningSection2255Prcceedings.This Court shouldgranta COA

only if the prisonermakesa "substantialshowingof the denial of a constitutionalright."

28 U.S.C. g 2253(cX2). For the reasonsset forth in the Report and Recommendation,

and in considerationof the standardsenunciatedin Slack v. McDaniel, 529 U.S. 473,
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482-84(2000),Petitionerhasfailed to makethe requisiteshowing. Accordingly,a COA

                                        thereareno non-frivolousissuesto raiseon
is DENIED in this case.l Moreover,because

appeal,an appealwould not be takenin goodfaith. Accordingly,Petitioneris not entitled

to appealinformapauperis. See28 U.S.C.$ l9l5(a)(3).

      Upon the foregoing,a final judgmentshallbe ENTERED in favor of Respondent,

andthis civil action shallbe CLO.SED.

       SO ORDEREDthis lSffuyof February
                                      ,zll4,at Augusta,Georgia.




                                             STATESDISTRICTruDGE
                                               DISTRICTOF GEORGIA




        | *If the court deniesa certificate,a party may not appealthe denialbut may seek
a certificatefrom the court of appealsunderFederalRule of Appellate Procedure22."
Rule I l(a) to the RulesGoverningSection2255Ptoceedings.
